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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
RALPH COLEMAN, et al.,

Plaintiffs, No. CIV S-90-0520 LKK JFM P
VS.
ARNOLD SCHWARZENEGGER,
et. al.,
Defendants.
/

MEMORANDUM IN SUPPORT OF SPECIAL MASTER'S
REQUEST FOR THE APPOINTMENT OF ADDITIONAL STAFF

Pursuant to paragraph B7 of the December 11, 1995 Order of Reference in the above-
captioned matter on the retention of experts and assistants to the special master, I request the

approval of the court for the appointment of Linda E. Buffardi.

Ms. Buffardi is an accomplished attorney and a prolific writer who has practiced law in
Rhode Island for over twenty-three years. She manages her own law practice and she is often
called upon to write the appellate briefs, trial memoranda and private legal opinions for other
Rhode Island attorneys. Ms. Buffardi has published a number of legal articles and she currently

serves as a Bar Examiner for the State of Rhode Island.

Ms. Buffardi will assist the special master in preparing voluminous semi-annual
compliance reports to the court. She will also assist the special master in preparing interim

reports to the court as requested.

Ms. Buffardi’s curriculum vitae is attached. She is to be compensated at an hourly rate of
two hundred dollars ($200.00), with a travel rate of ninety dollars ($90.00) per hour, plus

reasonable expenses.
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Respectfully Submitted,

/s/ J. Michael Keating, Jr.
Special Master
